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6                 IN THE UNITED STATES DISTRICT COURT FOR THE

7                         EASTERN DISTRICT OF CALIFORNIA

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9    ROBERT E. HARRIS,                )       No. CV-F-07-1210 OWW/SMS
                                      )
10                                    )       ORDER DENYING DEFENDANT'S
                                      )       MOTION TO DISMISS (Doc. 7)
11                     Plaintiff,     )       AS MOOT AND VACATING ORAL
                                      )       ARGUMENT SET FOR MARCH 17,
12               vs.                  )       2008
                                      )
13                                    )
     CITY OF FRESNO,                  )
14                                    )
                                      )
15                     Defendant.     )
                                      )
16                                    )

17         Because Plaintiff has filed an Amended Complaint as of right

18   pursuant to Rule 15(a), Federal Rules of Civil Procedure,

19   Defendant's motion to dismiss is DENIED AS MOOT.

20         Oral argument on the motion to dismiss set for March 17,

21   2008 is VACATED.

22         IT IS SO ORDERED.

23   Dated:   March 7, 2008               /s/ Oliver W. Wanger
     668554                          UNITED STATES DISTRICT JUDGE
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